                       Case 3:21-cr-00161-RS Document 1 Filed 12/03/20 Page 1 of 11                              FILED
AO 91 (Rev. 11/11) Criminal Complaint
                                                                                                                    Dec 03 2020
                                     UNITED STATES DISTRICT COURT
                                                                  for the                                   SUSANY. SOONG
                                                                                                       CLERK, U.S. DISTRICT COURT
                                                     Northern District
                                                   __________  DistrictofofCalifornia
                                                                            __________              NORTHERN DISTRICT OF CALIFORNIA
                                                                                                             SAN FRANCISCO
                  United States of America                           )
                             v.                                      )
              Jesus Ascencio RAMIREZ and
                                                                     )      Case No. 3-20-mj-71762 MAG
                 Francisco Tomas REUS                                )
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                        12/2/2020                 in the county of    San Francisco/San Mateo       in the
     Northern          District of          California           , the defendant(s) violated:

            Code Section                                                       Offense Description
21 U.S.C. §§ 846,841(a)(1), (b)(1)                Attempt to possess with intent to distribute 500 grams or more of a mixture or
(B)(ii)(II)                                       substance containing a detectable amount of cocaine in violation of 21 U.S.C.
                                                  §§ 846,841(a)(1), (b)(1)(B)(ii)(II). Max penalities: Mandatory minimum of 5
                                                  years' imprisonment, up to 40 years'l $5 mil fine; at least 4 years' supervised
                                                  release, up to lifetime supervised release; $100 special assess.; forfeiture;
                                                  restitution; potential deportation or other immigration consequences.



         This criminal complaint is based on these facts:
Please see the attached affidavit of DEA Special Agent Colin Hart

Approved as to form _/s Joseph Tartakovsky_______
                    AUSA Joseph Tartakovsky


         ✔ Continued on the attached sheet.
         ’

                                                                                                        s/
                                                                                                Complainant’s signature

                                                                                         Colin Hart, DEA Special Agent
                                                                                                 Printed name and title
                    on the phone
Sworn to before me xxxxxxxxx  xxxxxxxxxxxx
                   and signed in my presence.


Date:    12/3/2020
                                                                                                   Judge’s signature

City and state:                  San Francisco, California                       Hon. Joseph C. Spero, U.S. Magistrate Judge
                                                                                                 Printed name and title



        Print                        Save As...                   Attach                                                  Reset
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                  AFFIDAVIT OF DEA SPECIAL AGENT COLIN HART
                      IN SUPPORT OF CRIMINAL COMPLAINT

       I, Colin Hart, hereby duly sworn, declare and state:

                                           INTRODUCTION

       1.      I am an “investigative or law enforcement officer of the United States” within the

meaning of Section 2510(7) of Title 18, United States Code, that is, an officer of the United

States who is empowered by law to conduct investigations of, and to make arrests for, offenses

enumerated in Title 18, United States Code, Section 2516.

       2.      I make this Affidavit in support of a Criminal Complaint charging Jesus Ascencio

RAMIREZ and Francisco Tomas REUS each with one count of attempt to knowingly and

intentionally possess with intent to distribute a controlled substance, namely, 500 grams or more

of a mixture or substance containing a detectable amount of cocaine, a Schedule II Narcotic Drug

Controlled Substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), (b)(1)(B)(ii)(II).

       3.      The facts in this Affidavit come from my personal observations, my training and

experience, information from records and databases, and information obtained from other agents

and witnesses. In addition, where statements made by other individuals (including other Special

Agents and law enforcement officers) are referenced in this Affidavit, such statements are

described in sum and substance and in relevant part. Similarly, where information contained in

reports and other documents or records are referenced in this Affidavit, such information is also

described in sum and substance and in relevant part.

       4.      Because this Affidavit is submitted for the limited purpose of establishing

probable cause for a criminal complaint, I have not included each and every fact known to me

about this case. Rather, I have set forth only the facts that I believe are necessary to support

probable cause for a criminal complaint.

                                      AGENT BACKGROUND

       5.      I am a Special Agent (“SA”) employed by the U.S. Drug Enforcement

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Administration (“DEA”) and have been so employed since December 2019. I am currently

assigned to the San Francisco Field Division. I am authorized and am presently assigned to

investigate violations of the Controlled Substance Act (“CSA”), Title 21 of United States Code,

and other violations of federal law.

       6.      Prior to becoming a DEA Special Agent, I was a legal analyst with Verizon

Wireless. In this capacity, I assessed and processed legal inquiries from various local, state, and

federal law enforcement agencies. I also conducted cellular phone data extractions, real-time

GEO tracking, and installed location-tracking programs to assist in Verizon Wireless’s mission to

complement the emergency services requests of various law enforcement agencies across the

country.

       7.      During my employment with the DEA, I have received nineteen weeks of full-time

formalized education, training, and experience at the DEA Basic Agent Training Academy in

Quantico, Virginia. This education, training, and experience included but is not limited to drug

detection, drug interdiction, money laundering techniques, and schemes and investigation of

individuals and organizations involving the smuggling, cultivation, manufacturing, and illicit

trafficking of controlled substances. As a Special Agent, I have participated in multiple narcotics

investigations. I have debriefed defendants, confidential sources, and witnesses who had personal

knowledge regarding narcotics trafficking organizations. I also have participated in many aspects

of drug investigations including but not limited to telephone toll analysis, records research, and

physical and electronic surveillance. I have participated in the execution of several federal search

and arrest warrants that resulted in the arrest of suspects and seizure of narcotics. In addition, I

have attended a training course regarding drug smuggling and interdiction.

       8.      I have also had the opportunity to speak extensively with other experienced law

enforcement officers and cooperating individuals about the packaging and preparation of narcotics,

methods of operation, and security measures often employed by drug traffickers. I have examined

documentation of various methods in which illicit drugs are smuggled, transported, and

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distributed. Throughout these investigations, I have also gained expertise in the use of a variety of

law enforcement techniques, including the application and use of wire and electronic interceptions,

confidential sources and undercover agents, surveillance techniques, and various other types of

electronic techniques, such as body wires and transmitters. Additionally, I have gained knowledge

and expertise in the use and analysis of data from pen register and trap-and-trace devices, toll

records, traditional business records (including financial records and utility records) and

nontraditional records kept by drug traffickers, such as pay-and-owe sheets documenting deliveries

of and payments for narcotics. I have also gained knowledge and expertise in the collection and

identification of drug evidence and the analysis and interpretation of taped conversations.

       9.       Through my training, education, experience, and my conversations with other

agents and officers who conduct drug investigations, I have become familiar with narcotics

traffickers’ use of mobile telephones and mobile telephone applications, Internet applications,

social media applications, as well as narcotics traffickers’ use of numerical codes and code words

to conduct business. I have become familiar with narcotics traffickers’ methods of operation,

including but not limited to the manufacturing, distribution, storage, and transportation of

narcotics, and the methods used by drug traffickers to collect, transport, safeguard, remit, and

launder drug proceeds.

                                          APPLICABLE LAW

       10.      Title 21, United States Code, § 841(a)(1) provides, in relevant part, that “it shall

be unlawful for any person knowingly or intentionally…to manufacture, distribute, or dispense,

or possess with intent to manufacture, distribute, or dispense, a controlled substance.”

Specifically, 21 U.S.C. § 841(b)(1)(B)(ii)(II) provides that any person who violates § 841(a)(1)

in a case involving “500 grams or more of a mixture or substance containing a detectable amount

of…cocaine, its salts, optical and geometric isomers and salts of isomers” is subject to a

mandatory minimum term of imprisonment of five years.

       11.      21 U.S.C. § 846 provides that “[a]ny person who attempts or conspires to commit
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any offense defined in this subchapter shall be subject to the same penalties as those prescribed

for the offense, the commission of which was the object of the attempt or conspiracy.”

                               STATEMENT OF PROBABLE CAUSE

        12.      As set forth below, there is probable cause to believe that RAMIREZ and REUS

violated Title 21, United States Code, §§ 846, 841(a)(1), (b)(1)(B)(ii)(II), by attempting to

knowingly and intentionally possess with intent to distribute cocaine.

       13.       The DEA has been conducting a criminal investigation that targets the drug

trafficking activities of Jesus Ascencio RAMIREZ and his organization. In November 2020, the

DEA received and corroborated information from a DEA Confidential Source (hereinafter,

“CS” 1), indicating that RAMIREZ is a multi-kilogram cocaine purchaser in the San Francisco
Bay Area (and therefore within the Northern District of California).

        14.      According to the CS, in November 2020, he/she was informed that an individual

referred to as “Primo” (later identified as RAMIREZ) 2 was looking to purchase kilogram

quantities of cocaine. This information came from a narcotics deal broker in Mexico, only

identified as “Mapache,” who used telephone number, 52-667-321-9397. (“Mapache” still has

not been identified.) The CS advised myself and other agents that “Mapache” was looking to

broker a deal between RAMIREZ and the CS in the San Francisco Bay Area. “Mapache” then

provided the CS with RAMIREZ’s telephone number, 650-471-1115.

        15.      On November 12, 2020, the CS told agents that, earlier that day, he/she contacted



        1
         CS is a paid DEA informant who has been cooperating with the DEA since 2005 for
monetary compensation. The CS was arrested for alien smuggling in 2005 and the prosecution
was declined. Also in 2005, the CS was charged with amphetamine sales and the charge was
dismissed. The CS has provided information leading to numerous federal, state, and local arrests
and convictions. The CS has proven to be a consistently reliable source of information because
much of his/her information has been independently corroborated, including through recorded
conversations, toll records, and surveillance. To my knowledge, CS’s information has not been
found to be false or misleading. CS is not known to be a defendant for any pending charges.
       2
         RAMIREZ was identified through subpoenaed telephonic subscriber records, open-
source and law-enforcement databases, and surveillance and vehicle registration information.
                                                  4
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RAMIREZ, on telephone number 650-471-1115, to discuss a narcotics sale. 3 According to the

CS, during that conversation between RAMIREZ and the CS, RAMIREZ advised the CS that he

was looking to buy 5 “T-shirts” (“camisas blancas” in Spanish), which the CS understood to mean

5 kilograms of cocaine. RAMIREZ further explained to the CS (according to the CS) that he had a

deal in place to purchase 5 kilograms of cocaine from individuals in Los Angeles, California, but

stated that these individuals were difficult to work with and their deal was no longer happening.

According to the CS, RAMIREZ agreed to pay $33,000 per kilogram of cocaine. The CS also

stated that RAMIREZ told the CS that he, RAMIREZ, had a customer seeking to buy 5 kilograms

of cocaine, so that he, RAMIREZ, needed to obtain cocaine as soon as possible. In addition, the

CS stated to agents that RAMIREZ told the CS that he, RAMIREZ, wanted to conduct an in-

person meeting to discuss transaction details before any purchase. The CS stated to agents that

he/she advised RAMIREZ, at the end of the conversation between the CS and RAMIREZ, that

his/her partner in San Francisco would contact RAMIREZ to coordinate the 5 kilogram cocaine

transaction.

       16.      On November 13, 2020, a DEA Special Agent (“SA”) acting in an undercover

capacity (hereafter “UC-1”), contacted RAMIREZ on telephone number 650-471-1115, posing

as the CS’s San Francisco narcotics trafficking partner. During their discussion 4, UC-1
introduced herself as a cocaine distributor in the San Francisco Bay Area and confirmed that she

would meet with RAMIREZ in person on the upcoming Monday, November 16, 2020, in San

Francisco. RAMIREZ agreed to the meeting and said that he would await for UC-1 to confirm

the exact meeting location.

       17.      On November 15, 2020, UC-1 called RAMIREZ to request that they meet at 4:00


       3
         It should be noted that the CS’s communications with RAMIREZ occurred in Spanish.
The CS summarized his/her communications with RAMIREZ, in English, to me and other agents.
       4
         All UC communications referred to herein with RAMIREZ were recorded and
conducted primarily in Spanish. All UC communications referred to herein with REUS were
recorded and conducted primarily in English.
                                                 5
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p.m. the following day. RAMIREZ agreed.

       18.      On November 16, 2020, UC-1 contacted RAMIREZ by phone with the address

for Best Buy at 1717 Harrison Street, San Francisco, as the meeting location. UC-1 reiterated

that they would meet at 4:00 p.m. to discuss a cocaine purchase. RAMIREZ again agreed.

       19.      Just before the scheduled meet time, UC-1 contacted RAMIREZ advising she had

arrived at the Best Buy parking lot and that she was looking for him. RAMIREZ told UC-1 that

he had not arrived yet. In fact, surveillance agents had already identified RAMIREZ in the lot

prior to UC-1’s arrival. During this time, the CS advised surveillance agents that RAMIREZ had
contacted the CS, sending pictures apparently taken by RAMIREZ, to the CS, of vehicles that

RAMIREZ claimed belonged to law enforcement. Based on my training and experience, and

conversations with senior agents, I know that it is common for drug traffickers to conduct

counter-surveillance to avoid detection.

       20.      Shortly after arriving at Best Buy, UC-1 exited her vehicle and RAMIREZ waved

UC-1 over to where he was standing. UC-1 approached him. On meeting in person, RAMIREZ

introduced himself as “Armando.” During their conversation, RAMIREZ asked UC-1 how

everything was going (in apparent reference to the UC-1’s involvement in selling cocaine). UC-1

explained that business was good, adding that she and her associate, a second DEA SA acting in

an undercover capacity (hereafter “UC-2”), were headed to San Jose that evening to sell cocaine.

UC-1 then offered to show RAMIREZ the cocaine if he was interested. RAMIREZ told UC-1

that he was interested, then clarified whether he could just see it or whether he have to purchase

some. UC-1 told RAMIREZ that there was no obligation to purchase anything and reiterated that

she was solely interested in showing him the type of product that she sold. RAMIREZ requested

that they change their location before viewing the cocaine. RAMIREZ and UC-1 then separated.

       21.      RAMIREZ, from the Best Buy parking lot, then contacted the CS by phone and

reiterated that he believed that he saw law enforcement vehicles in the area and wanted to change

locations.

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       22.      A short while after, UC-1 contacted RAMIREZ by phone and told him they could

meet across the street in the parking lot for Office Max, at 1750 Harrison Street San Francisco.

UC-1 drove to that lot. UC-1 saw RAMIREZ walking across the street from Best Buy towards

Office Max and began making conversation with RAMIREZ when he arrived.

       23.      By arrangement, UC-2 was parked nearby in a vehicle that contained 10

kilograms of actual cocaine. UC-1 now called UC-2 to request he, UC-2, drive the cocaine to the

Office Max lot to display to RAMIREZ. UC-2 drove into the Office Max lot and parked near

UC-1’s vehicle. UC-2 exited his vehicle, greeted RAMIREZ, and opened the vehicle’s trunk. A

duffle bag containing the ten kilograms of cocaine was located there. UC-2 unzipped the duffel

bag revealing the ten kilograms of cocaine to RAMIREZ.

       24.      UC-2 offered the opportunity for RAMIREZ to closely examine one kilogram of

cocaine inside UC-2’s vehicle. RAMIREZ asked UC-2 if any of the kilograms of cocaine were

open. UC-2 stated they were not, but stated that he could open one for RAMIREZ. RAMIREZ

confirmed he wanted UC-2 to open one of the packaged kilograms of cocaine. UC-2 cut a small

opening into one of the packaged kilograms for RAMIREZ to inspect. RAMIREZ picked up

some of the cocaine using one of his fingers and placed the cocaine onto the gum line of his

mouth. UC-2 then zipped up the duffel bag, closed the trunk of his vehicle, and departed the

area. In addition to the observation by UC-1 and UC-2, the display of the cocaine to RAMIREZ,

and RAMIREZ’s sampling of it, were captured by audio and video surveillance.

       25.      UC-1 then told RAMIREZ to keep in touch and let her know if and when he

would be interested in purchasing cocaine. RAMIREZ acknowledged the request and said that he

would be in touch. Based on my training and experience and conversations with senior agents, I

know it is common for experienced drug traffickers to want to personally sample narcotics

before they purchase them. By requesting that he be allowed to sample the cocaine, I believe that

RAMIREZ demonstrated his knowledge and experience in the drug trade.

       26.      A couple of days later, RAMIREZ contacted the CS and advised him/her that he

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was interested in conducting the cocaine transaction in a few weeks’ time. Throughout the rest of

November 2020, RAMIREZ remained in contact with the CS and UC-1.

       27.      On December 1, 2020, the CS advised agents including myself that RAMIREZ

contacted him/her and stated that his “boss” was in the area. According to the CS, RAMIREZ

told the CS that this “boss” wanted to examine the CS’s cocaine and if he, the “boss,” liked the

product, the “boss” would purchase 3 to 6 kilograms of cocaine. The CS further explained to

agents that RAMIREZ had advised him that his “boss” was the one who controlled the money

for the cocaine. The CS stated to agents that he/she told RAMIREZ that he/she would not show

RAMIREZ and his “boss” the cocaine, but that he/she was willing to conduct the originally

agreed upon transaction of 5 kilograms of cocaine, for $33,000 per kilogram, so long as

RAMIREZ and his “boss” displayed, to the CS or his/her agents, that they possessed the money

for the cocaine before any cocaine would be exchanged. After continued negotiation, RAMIREZ

agreed that he and his “boss” would purchase two kilograms of cocaine from the CS and his/her

associate, UC-2, the following day, on December 2, 2020, between 11:30 a.m. and 12:30 p.m.

       28.      On December 2, 2020, the CS spoke with RAMIREZ and confirmed that

RAMIREZ and his “boss” would purchase two kilograms of cocaine from the CS’s associate,

UC-2. At approximately 12:30 p.m., UC-2 contacted RAMIREZ and asked him to conduct the

cocaine transaction at the parking deck located at 2300 16th Street in San Francisco. RAMIREZ

told UC-2 that he would not go to that location because, RAMIREZ believed, there was law

enforcement in that area. UC-2 and RAMIREZ ultimately settled on meeting at 500 South

Airport Boulevard, in South San Francisco, at approximately 1:00 p.m. Based on my training and

experience, and conversations with senior agents, I know that experienced drug traffickers will

go to great lengths to evade law enforcement detection, as evidenced here by RAMIREZ’s

determination to avoid areas that he believed featured a significant police presence.

       29.      At approximately 1:00 p.m., UC-2 contacted RAMIREZ and confirmed that he,

UC-2, was in the area of 500 South Airport Boulevard. UC-2 walked around the area on foot

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looking for RAMIREZ. RAMIREZ advised UC-2 that he could see him and waved at UC-2 to

come over to him on the sidewalk outside of 500 South Airport Boulevard. UC-2 walked over to

RAMIREZ. They greeted one another outside of RAMIREZ’s vehicle, a silver Chevrolet Traverse.

       30.     At this point, UC-2, while greeting RAMIREZ, observed REUS leaning against

the side of the Chevrolet Traverse. RAMIREZ asked UC-2 if he had the cocaine on him. UC-2

replied that it was in his car across the street. REUS asked UC-2 why he had not brought the

cocaine with him when he left his car.

       31.     UC-2 began to negotiate with RAMIREZ and REUS about seeing the money for
the cocaine before bringing the cocaine over. UC-2 advised REUS and RAMIREZ that

RAMIREZ had already sampled the cocaine when he, UC-2, showed it to RAMIREZ on

November 16, 2020, which RAMIREZ confirmed. REUS countered that he, REUS, had not

sampled the cocaine, and that he wanted to sample it if he, REUS, was going to purchase it.

       32.     RAMIREZ then told REUS to get the money to show to UC-2. REUS then walked

out of sight, behind a box truck, and returned with a Dick’s Sporting Goods brown paper bag.

REUS showed UC-2 the inside of the bag, which contained a substantial amount of uncounted

United States currency. 5 UC-2, after determining by visual inspection that the amount of money in

the bag was sufficient to purchase kilogram quantities of cocaine, told RAMIREZ and REUS that

he, UC-2, would retrieve the cocaine from his car across the street. UC-2, as he began to walk to

his car, heard REUS say that he, REUS, would purchase 1 to 2 kilograms of cocaine and would

want to purchase more kilograms in the future if the cocaine was of good quality.

       33.     Moments later, agents and officers arrived on scene to place RAMIREZ and

REUS into custody. While RAMIREZ and REUS were being arrested, DEA Task Force Officer

Joe Valiente, who was on scene, observed REUS throw the Dick’s Sporting Goods brown paper


       5
          DEA protocol provides that DEA Special Agents may not count seized money at the
scene of operations. Instead, DEA agents must rely on official counts conducted by banking
institutions. Agents will take the money seized in the operation on December 2, 2020, for an
official count at a bank as soon as possible.
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bag containing the United States currency under a white Audi sedan (later determined to be

leased to REUS). As RAMIREZ and REUS were being arrested, UC-2 confirmed that they were

the two individuals who had attempted to purchase the kilograms of cocaine from him.

       34.     The transaction described above was captured by audio and video surveillance.

                                           CONCLUSION

       35.     Based on the foregoing, I hereby assert that probable cause exists to believe that

Jesus Ascencio RAMIREZ and Francisco Tomas REUS attempted to knowingly and

intentionally possess with intent to distribute a controlled substance, namely, 500 grams or more

of a mixture or substance containing a detectable amount of cocaine, a Schedule II Narcotic Drug

Controlled Substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), (b)(1)(B)(ii)(II).


                                                     _/s Colin Hart _____________
                                                     Colin Hart
                                                     Special Agent
                                                     Drug Enforcement Administration


Sworn to before me over the telephone and signed by me pursuant to Fed. R. Crim. P. 4.1 and

4(d) on this 3rd
             ___ day of December 2020. This complaint and warrants are to be filed under seal.




_________________________________________
The Honorable Joseph C. Spero
United States Magistrate Judge




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